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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                    February 9, 2018


Greg Bruch                                          Nelson Boxer/Amy Lester
Bruch Hanna                                         Petrillo Klein & Boxer LLP
1099 New York Ave., NW, Ste. 500                    655 Third Avenue, 22nd Floor
Washington, DC 20001                                New York, NY 10017


   Re:United States v. David Middendorf, et al., 18 Cr. 36 (JPO)


Dear Counsel:

        This letter provides supplemental discovery pursuant to Rule 16(a) of the Federal Rules
of Criminal Procedure (“Fed. R. Crim. P.”). Based on your request for discovery in this case, I
have enclosed (i) a copy of the cellular telephone belonging to David Middendorf; and (ii) copies
of the following materials, all of which constitute “Confidential Material” pursuant to the
protective order entered in this case:

       •   The following search warrants and affidavits:
                o 17 Mag 5462 (Email accounts belonging to Jeffrey Wada, Cynthia Holder and
                  Brian Sweet) [SDNY-00000001-SDNY-00000042];
                o 17 Mag 6471 (Cellphones and other devices belonging to David Middendorf,
                  Thomas Whittle, David Britt, Brian Sweet, Cynthia Holder and Scott
                  Marcello) [SDNY-00000043-SDNY-00000085];
                o 18 Mag 14 (Cellphone belonging to Jeffrey Wada) [SDNY-00000086-SDNY-
                  00000124];
                o H17-1359 (Residence of Cynthia Holder) (with inventory) [SDNY-00000125-
                  SDNY-00000158];
       •   Emails obtained pursuant to the above referenced search warrants for accounts
           belonging to Jeffrey Wada, Cynthia Holder, and Brian Sweet [SDNY-R-00225606 -
           SDNY-R-00231524];
       •   Text messages obtained pursuant to the above referenced search warrants for
           cellphones and other devices belonging to David Middendorf, Thomas Whittle, David
           Britt, Brian Sweet, Cynthia Holder and Scott Marcello [SDNY-00000159-SDNY-
           00000168];
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•   Documents produced by Brian Sweet [SDNY-00000169-SDNY-00000210 and
    SWEET_0000737-SWEET_001563];
•   Documents produced by Joe Lynch [SDNY-00000211-SDNY-00000214];
•   Documents produced by the SEC, consisting of:
       o Internal SEC documents [SDNY-00000215 -00000242 and SDNY-00029535-
         SDNY-00029536
       o Phone records obtained by the SEC from third party providers [SDNY-
         00000243-00000246]

•   Subscriber information for the following email accounts:
       o   bsweet@harvestfresno.org [SDNY-00000247 - SDNY-00000249];
       o   Bsweet002@yahoo.com [SDNY-00000250 - SDNY-00000251];
       o   Cholder@aol.com [SDNY-00000252- SDNY-00000258];
       o   dtsai@gmail.com [SDNY-00000259 - SDNY-00000261];
       o   focusdwk@yahoo.com [SDNY-00000262- SDNY-00000263];
       o   gradypeeler@gmail.com [SDNY-00000264-00000266];
       o   grady@peelerfamily.com [SDNY-00000267 - SDNY-00000269];
       o   Jeff.wada@gmail.com [SDNY-00000270- SDNY-00000272];
       o   Jungman025@yahoo.com [SDNY-00000273-SDNY-000000274];
       o   Pijush76@gmail.com [SDNY-00000275];
       o   Wakinsvol@me.com [SDNY-00000276-SDNY-00000277]

•   Bank and other financial records produced by the following entities:
       o Experian [SDNY-00000278- SDNY-00000299];
       o Fidelity [SDNY-00000300 SDNY-00000345];
       o HSBC [SDNY-00000346-00000351];
       o JP Morgan Chase [SDNY-00000352-00000519];
       o Quickenloans [SDNY-00000520-00000527];
       o Wells Fargo [SDNY-00000528-00003261]

•   Subscriber Information and/or toll records from the following service providers:
       o AT&T [SDNY-00003262-SDNY-00022493 and SDNY-00022870- SDNY-
           00029217];
       o Frontier [SDNY-00022494-SDNY-00022854];
       o Sprint [SDNY-00022855-SDNY-00022869];
       o Verizon [SDNY-00029218- SDNY-00029534]

•   Documents produced by the PCAOB, as described in further detail in attachment A to
    this letter [SDNY-R-00231525 - SDNY-R-00236704];
•   Documents produced by KPMG, as described in further detail in attachment B to this
    letter [SDNY-R-00000001 - SDNY-R-00225605];
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        Nothing in this letter should be construed as a modification to the Government's requests
for discovery from the defendant or any other information set forth in the Government's previous
discovery letter. The Government recognizes that its obligation to provide discovery is of a
continuing nature, and the Government will supplement this response if it obtains additional
evidence and materials.

                                            Very truly yours,

                                            GEOFFREY S. BERMAN
                                            United States Attorney



                                         by: _________/s____________________
                                             Jessica Greenwood/Amanda Kramer/
                                             Rebecca Mermelstein
                                             Assistant United States Attorneys
                                             (212) 637-1090/2478/2360
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                                             Attachment A 1

    PCAOB Bates Number                Description
    PCAOB-00000001–                   Interview memoranda summarizing our conversations with Cindy
    PCAOB-00000012                    Holder and/or her lawyer, Norman Bloch (with attorney work-product
                                      redacted)
    PCAOB-00000013 –                  Emails obtained from Jeffrey Wada’s PCAOB email account
    PCAOB-00000066                    regarding Mr. Wada’s promotion and advancement at PCAOB
    PCAOB-00000067 –                  Emails obtained from Jeffrey Wada’s PCAOB email account
    PCAOB-00000110                    regarding Mr. Wada’s interest in purchasing a new home
    PCAOB-00000111 –                  Cindy Holder’s PCAOB personnel file and selected quarterly and
    PCAOB-00000278                    annual performance reviews (with social security numbers redacted)
    PCAOB-00000279 –                  Brian Sweet’s PCAOB personnel file and selected quarterly and
    PCAOB-00000432                    annual performance reviews (with social security numbers and bank
                                      account information redacted)
    PCAOB-00000433 –                  Jeffrey Wada’s PCAOB personnel file and selected quarterly and
    PCAOB-00000615                    annual performance reviews (with social security numbers redacted)
    PCAOB-KPMG-000001 –               A file listing all of the Banking Inspection Group (BIG) team
    PCAOB-KPMG-000003                 members currently staffed on KPMG inspections in 2015 and 2016.
    PCAOB-KPMG-000004                 A file listing all of the Banking Inspection Group (BIG) team
                                      members that are currently staffed on KPMG inspections in 2017.
    PCAOB-KPMG-000005 –               Core ethics training materials regarding confidentiality from our
    PCAOB-KPMG-000068                 Ethics office and from our Division of Registration and Inspections
    PCAOB-KPMG-000069 –               1) Summaries of all Ethics trainings and certifications for Brian
    PCAOB-KPMG-000419                 Sweet, Cindy Holder and Jeff Wada (Documents BS Ethics, CH
                                      Ethics, JW Ethics)

                                      2) Brian Sweet: All e-mails and other documents re: Brian Sweet’s
                                      certifications and trainings with respect to Ethics.

                                      3) Cindy Holder: All e-mails and other documents re: Cindy Holder’s
                                      certifications and trainings with respect to Ethics.

                                      4) Jeff Wada: All e-mails and other documents re: Jeff Wada’s
                                      certifications and trainings with respect to Ethics.

                                      5) AIT: Agendas and Attendance for Annual Inspections Training
                                      (AIT) 2012-2016 and chart showing attendance at AIT from 2009-
                                      2016

                                      6) Annual Messages: 2012-2017 Annual Messages From Ethics
                                      Officer, HR Director and IOPA Director

                                      7) 2011 Inspections Training: 12/13/11 Inspections training webinar –
                                      script and confirmation of attendance



1
  The descriptions included in Attachments A and B are the descriptions provided by the producing party, and
accordingly, correspond to the bates numbers used by the producing party. Both the producing party’s bates
numbers and the SDNY’s bates numbers are included in the metadata for the enclosed production and the data
can be accessed utilizing either bates number.
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                                           8) Ethics Road Show training Nov. 2012- Jan. 2013: Proof of
                                           attendance for in-person training in Irvine and San Mateo, and
                                           webinar make-up session. Training was focused on FCPA and
                                           Conflicts of Interest. [Slide show not included because topics not
                                           relevant to this investigation.]

                                           9) New Hire Orientation Slides: Versions of orientation materials
                                           from 2004 (Wada), 2009 (Sweet) and 2011 (Holder).

                                           10)A Video Reminder to Complete Your Annual Ethics Filings by
                                           Tuesday, May 1: E-mail from Ethics Officer to PCAOB-All including
                                           video from Second City on the importance of Ethics Codes (rights to
                                           review videos terminated at end of 2012)

                                           11) Confidentiality Obligations: E-mail from Ethics Officer to
                                           PCAOB-All emphasizing confidentiality obligations and including
                                           video “Loose Lips” from Second City (rights to review videos
                                           terminated at end of 2012).

                                           12) 7/31/08 Ethics Guidelines and Post-Employment Obligations and
                                           Post-PCAOB Employment Activities: Version of Post-Employment
                                           guidance that was posted on PCAOB Intranet from 7/31/08 until
                                           replaced by current guidance on 4/25/17.

                                           13) Ethics Reminders 081816.pdf: Document currently on PCAOB
                                           Intranet Ethics page that was inadvertently omitted from prior
                                           production by Ethics Office.

                                           14) 9/14/06 Memorandum entitled “Our Confidentiality Obligations”
                                           and cover e-mail from
    PCAOB-KPMG-000420 –                    Ethics Office emails re: Cindy Holder
    PCAOB-KPMG-000426
    PCAOB-KPMG-000443                      Phone logs from Jeff Wada's desk phone from October 18, 2016
                                           through March 9, 2017
    PCAOB-KPMG-000444 -                    A table showing civil monetary penalties imposed for deficiencies
    PCAOB-KPMG-000445                      that were discovered through inspections
    PCAOB-KPMG-000446 -                    Screen captures of the PCAOB ethics intranet page, and documents
    PCAOB-KPMG-000492                      contained on those pages, at various points in time 2
    PCAOB-KPMG-000493 -                    Screen captures of the Microsoft Outlook invitation for the exit
    PCAOB-KPMG-000494                      interviews of Brian Sweet and Cindy Holder
    PCAOB-KPMG-000524 –                    The practice office notifications for inspection year 2015 and
    PCAOB-KPMG-000556                      inspection year 2016

    PCAOB-KPMG-000557 –
    PCAOB-KPMG-000585
    PCAOB-KPMG-000586 -                    The Inspection Summary Memoranda for inspection year 2015 and
    PCAOB-KPMG-002242                      inspection year 2016

    PCAOB-KPMG-002243 -
    PCAOB-KPMG-003994

2
    Attachment C to this letter identifies the changes made to each iteration of the ethics intranet page.
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PCAOB-KPMG-004181 –
PCAOB-KPMG-004329
PCAOB-KPMG-004330 -      The confidential and non-confidential versions of the KPMG annual
PCAOB-KPMG-004537        inspection reports for inspection year 2014 and inspection year 2015

PCAOB-KPMG-003995 -
PCAOB-KPMG-004163
PCAOB-KPMG-004164 -      Certain documents related to the PCAOB's selection of the Ambac
PCAOB-KPMG-004180        engagement for inspection in 2016
PCAOB-KPMG-004538 -      Emails received by or sent from PCAOB ethics staff regarding Brian
PCAOB-KPMG-004946        Sweet, Cindy Holder, and Jeff Wada
PCAOB-KPMG-004538 -      Native version of the emails produced on
PCAOB-KPMG-004946        January 2, 2018: (PCAOB-KPMG-004538 to -4946)
PCAOB-KPMG-004947 -      Documents related to Jeff Wada's non-selection for promotion to
PCAOB-KPMG-004971        Associate Director in 2015, 2016, and 2017
PCAOB-KPMG-004972 -      Agendas from the meetings between the Board and KPMG firm
PCAOB-KPMG-004982        leadership that occurred from December 2014 through January 2017
PCAOB-KPMG-004983 -      Agendas from monthly meetings between the PCAOB's KPMG U.S.
PCAOB-KPMG-005004        inspection team leadership and KPMG firm leadership that occurred
                         from December 2014 through January 2017
PCAOB-KPMG-005005 -      Agendas from the regular meetings between the PCAOB's Division of
PCAOB-KPMG-005020        Registrations and Inspections and the SEC that occurred from
                         December 2014 through January 2017
PCAOB-KPMG-005021 -      PCAOB meeting notes from the May 2016 meeting between
PCAOB-KPMG-005060        leadership of the PCAOB's KPMG U.S. inspection team and KPMG
                         firm leadership
PCAOB-KPMG-005061 -      Outlook calendar entries reflecting the invitees for meetings between
PCAOB-KPMG-005071        leadership in the PCAOB's Department of Registrations and
                         Inspections and the SEC's Office of the Chief Accountant
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                                  Attachment B

KPMG Bates Number          Description
KPMG-PCAOB-00000001 -      Documents previously produced to the Public Company
KPMG-PCAOB-00000225        Accounting Oversight Board ("PCAOB") Division of Enforcement
                           and Investigations ("DEI") pursuant to an Accounting Board
                           Demand.
I-KPMG-PCAOB-00000001 -    Personnel files pertinent to Brian Sweet and Cynthia Holder
I-KPMG-PCAOB-00000144
I-KPMG-PCAOB-00000145 –    Selection of documents pertinent to David Middendorf and
                           Thomas Whittle
I-KPMG-PCAOB-00000346
I-KPMG-PCAOB-00000347 -    The documents are being produced to the Public Company
I-KPMG-PCAOB-00003872      Accounting Oversight Board ("PCAOB") Division of Enforcement
                           and Investigations ("DEI") pursuant to an Accounting Board
                           Demand.
SWEET-P-PCAOB-00000001 -   Documents provided on behalf of Brian Sweet in the context of
SWEET-P-PCAOB-00000526     the internal investigation now being conducted by Williams &
                           Connolly.
A-KPMG-PCAOB-000000l       Attachment to April 14, 2017 Letter
W-KPMG-PCAOB-00000014 –    Text messages sent and received by Cynthia Holder
W-KPMG-PCAOB-00000036
I-KPMG-PCAOB-00003873 –    Selection of documents pertinent primarily, though not
I-KPMG-PCAOB-00004119      exclusively, to Dabie Tsai

W-KPMG-PCAOB-00000001 –
W-KPMG-PCAOB-00000013
W-KPMG-PCAOB-00000037 –    Documents relating to John Amraen’s communications with
W-KPMG-PCAOB-00000042      Palantir
W-KPMG-PCAOB-00000043 -    Documents pertinent to Michael Campanile
W-KPMG-PCAOB-00000297
W-KPMG-PCAOB-00000298 -    Documents pertinent to Charles O’Brien
W-KPMG-PCAOB-00000311
W-KPMG-PCAOB-00000312-     Documents pertinent to Brian Redington
W-KPMG-PCAOB-00000573
W-KPMG-PCAOB-00000574 -    Documents pertinent to Hector Santana
W-KPMG-PCAOB-00000767
W-KPMG-PCAOB-00000768 -    Documents pertinent to William O'Leary
W-KPMG-PCAOB-00000914
W-KPMG-PCAOB-00000915 –    Documents pertinent to Doug Besch
W-KPMG-PCAOB-00000944
W-KPMG-PCAOB-00000945 –    Documents pertinent to Charles Fuller
W-KPMG-PCAOB-00001130
W-KPMG-PCAOB-00001131 -    Documents pertinent to Thomas Garton
W-KPMG-PCAOB-00001580
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W-KPMG-PCAOB-00001581 –   Documents pertinent to Karen Saunders
W-KPMG-PCAOB-00001709
W-KPMG-PCAOB-00001710 –   Documents pertinent to Miguel Venta
W-KPMG-PCAOB-00002228
W-KPMG-PCAOB-00002229 –   Documents pertinent to Richard Wells
W-KPMG-PCAOB-00002304
W-KPMG-PCAOB-00002305 –   Documents pertinent to Steven Ritter
W-KPMG-PCAOB-00002481
W-KPMG-PCAOB-00002482 –   Documents pertinent to Marcelo Mauri
W-KPMG-PCAOB-00002664
W-KPMG-PCAOB-00002665 –   Documents pertinent to Robert McLamb
W-KPMG-PCAOB-00002679
W-KPMG-PCAOB-00002680 –   Documents pertinent to Keith Schwarz
W-KPMG-PCAOB-00002715
HOLDER-P-PCAOB-00000001   Documents provided on behalf of Cynthia Holder in the context of
–                         the internal investigation being conducted by Williams &
                          Connolly
HOLDER-P-PCAOB-00000504
I-KPMG-PCAOB-00004120 –   KPMG Organizational Charts
I-KPMG-PCAOB-00004124

W-KPMG-PCAOB-00002716 –   Documents pertinent to Lincoln Clark
W-KPMG-PCAOB-00002730


W-KPMG-PCAOB-00002731 –   Documents pertinent to Paul Laurenzano
W-KPMG-PCAOB-00002903
I-KPMG-PCAOB-00004125;    Documents relating to John Amraen’s communications with
I-KPMG-PCAOB-00004127-    Palantir
I-KPMG-PCAOB-00004128
I-KPMG-PCAOB-00004126     Document from the files of David Middendorf
W-KPMG-PCAOB-00002904 –   Documents pertinent to Jeffrey Bierman
W-KPMG-PCAOB-00002990
W-KPMG-PCAOB-00002991 –   Documents pertinent to Mario Dell’Aera
W-KPMG-PCAOB-00003004
W-KPMG-PCAOB-00003005 –   Documents pertinent to Scott Henderson
W-KPMG-PCAOB-00003115
W-KPMG-PCAOB-00003116 –   Documents pertinent to William Long
W-KPMG-PCAOB-00003187
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W-KPMG-PCAOB-00003188 –   Documents pertinent to Mark Shrekgast
W-KPMG-PCAOB-00003263
W-KPMG-PCAOB-00003264 –   Documents pertinent to Mark Shrekgast
W-KPMG-PCAOB-00003327
W-KPMG-PCAOB-00003328 –   Documents pertinent to Michael Tucker
W-KPMG-PCAOB-00003600
W-KPMG-PCAOB-00003601 –   Documents pertinent to Ryan Vaz
W-KPMG-PCAOB-00003695
W-KPMG-PCAOB-00003696 –   Documents pertinent to Suzanne Soos
W-KPMG-PCAOB-00003795
W-KPMG-PCAOB-00003796 –   Documents pertinent to J. Richard Andrews
W-KPMG-PCAOB-00003815
W-KPMG-PCAOB-00003816 –   Documents pertinent to Stephen Dabney
W-KPMG-PCAOB-00003830
W-KPMG-PCAOB-00003831 –   Documents pertinent to Maureen Downie
W-KPMG-PCAOB-00004589
W-KPMG-PCAOB-00004590 –   Documents pertinent to Brian Gordon
W-KPMG-PCAOB-00004630
W-KPMG-PCAOB-00004631 –   Documents pertinent to Paul Manos
W-KPMG-PCAOB-00004816
S-KPMG-PCAOB-00000001 –   Email communications with David Britt and/or his counsel
                          regarding provision of his Samsung Galaxy S5 and SD card to
S-KPMG-PCAOB-00000002
                          KPMG
S-KPMG-PCAOB-00000002 –   Email communications with Cynthia holder and/or her counsel
                          regarding provision of her iPhone 7 Plus to KPMG
S-KPMG-PCAOB-00000010
S-KPMG-PCAOB-00000011 –   Email communications with Scott Marcello and/or his counsel
                          regarding provision of his iPhone 6 and iPad Pro 128 to KPMG
S-KPMG-PCAOB-00000013
S-KPMG-PCAOB-00000014 –   Email communications with David Middendorf and/or his counsel
                          regarding provision of his iPhone 6s to KPMG
S-KPMG-PCAOB-00000026
S-KPMG-PCAOB-00000027 –   Email communications with Brian Sweet and/or his counsel
                          regarding provision of his iPhone 7 Plus to KPMG
S-KPMG-PCAOB-00000033
S-KPMG-PCAOB-00000034 –   Email communications with Thomas Whittle III and/or his counsel
                          regarding provision of his iPhone 6 to KPMG
S-KPMG-PCAOB-00000036
W-KPMG-PCAOB-00004817 –   Documents pertinent to Maureen Downie
W-KPMG-PCAOB-00004825
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W-KPMG-PCAOB-00004826 –   Documents pertinent to Benhamin Larson
W-KPMG-PCAOB-00004867
I-KPMG-PCAOB-00004129 –   KPMG policies and procedures relating to use of technology and
                          personal devices
I-KPMG-PCAOB-00004179
W-KPMG-PCAOB-00004868 –   Additional documents pertinent to Maureen Downie
W-KPMG-PCAOB-00004893
W-KPMG-PCAOB-00004894 –   Documents pertinent to Andrew Sparks
W-KPMG-PCAOB-00005333
I-KPMG-PCAOB-00004180 –   Documents relating to KPMG communications regarding the
                          matter under investigation (including a March 9, 2017 internal
I-KPMG-PCAOB-00004253
                          call)
W-KPMG-PCAOB-00005334     Document pertinent to Benjamin Larson
W-KPMG-PCAOB-00005335 –   Documents pertinent to Jude Fernandes
W-KPMG-PCAOB-00005483
W-KPMG-PCAOB-00005484 –   Documents pertinent to Randy Laszewski
W-KPMG-PCAOB-00005843
W-KPMG-PCAOB-00005844 –   Documents pertinent to Michael Martens
W-KPMG-PCAOB-00006019
W-KPMG-PCAOB-00006020 –   Documents pertinent to Luisette Negron
W-KPMG-PCAOB-00006496
W-KPMG-PCAOB-00006497 –   Documents pertinent to Eugene Michael Pierce
W-KPMG-PCAOB-00006679
W-KPMG-PCAOB-00006680 –   Additional documents pertinent to Andrew Sparks
W-KPMG-PCAOB-00006682
W-KPMG-PCAOB-00006683 –   Documents pertinent to Tres Doran
W-KPMG-PCAOB-00006757
W-KPMG-PCAOB-00006758 –   Documents pertinent to Frederick Kraft
W-KPMG-PCAOB-00006775
I-KPMG-PCAOB-00004254     Documents pertinent to David Britt
I-KPMG-PCAOB-00004258 –
I-KPMG-PCAOB-00004272
I-KPMG-PCAOB-00004354 -
I-KPMG-PCAOB-00005606
I-KPMG-PCAOB-00005612 -
I-KPMG-PCAOB-00005661
I-KPMG-PCAOB-00005664 -
I-KPMG-PCAOB-00005676
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I-KPMG-PCAOB-00004255 -   Documents pertinent to Scott Marcello
I-KPMG-PCAOB-00004257
I-KPMG-PCAOB-00004273 -
I-KPMG-PCAOB-00005364
I-KPMG-PCAOB-00005607 -
I-KPMG-PCAOB-00005611
I-KPMG-PCAOB-00005653 -
I-KPMG-PCAOB-00005656
I-KPMG-PCAOB-00005662 -
I-KPMG-PCAOB-00005663
W-KPMG-PCAOB-00006776 -   Documents pertinent to J. Richard Andrews
W-KPMG-PCAOB-00006826
W-KPMG-PCAOB-00006827 -   Documents pertinent to Jude Fernandes
W-KPMG-PCAOB-00006876
W-KPMG-PCAOB-00006877 –   Documents pertinent to Ryan Daly
W-KPMG-PCAOB-00007135
W-KPMG-PCAOB-00007136 -   Documents pertinent to David Britt
W-KPMG-PCAOB-00007138
I-KPMG-PCAOB-00005677 -   Documents pertinent to David Middendorf
I-KPMG-PCAOB-00005680
I-KPMG-PCAOB-00005689 -
I-KPMG-PCAOB-00005692
I-KPMG-PCAOB-00005696 -
I-KPMG-PCAOB-00005714
I-KPMG-PCAOB-00005678 -   Documents pertinent to Thomas Whittle
I-KPMG-PCAOB-00005680
I-KPMG-PCAOB-00005686 -
I-KPMG-PCAOB-00005695
I-KPMG-PCAOB-00005713 -
I-KPMG-PCAOB-00005714
I-KPMG-PCAOB-00005718 -
I-KPMG-PCAOB-00005796
I-KPMG-PCAOB-00005801 -
I-KPMG-PCAOB-00005803
I-KPMG-PCAOB-00005681 -   Documents pertinent to the Audit Quality Bonus Program
I-KPMG-PCAOB-00005685
I-KPMG-PCAOB-00005715 -
I-KPMG-PCAOB-00005717
I-KPMG-PCAOB-00005797 -
I-KPMG-PCAOB-00005800
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W-KPMG-PCAOB-00007139 –   Documents pertinent to Andrew Espe
W-KPMG-PCAOB-00007247
W-KPMG-PCAOB-00007248 –   Documents pertinent to Troy Johnston
W-KPMG-PCAOB-00007288
W-KPMG-PCAOB-00007289 –   Documents pertinent to Matthew Mount
W-KPMG-PCAOB-00007328
W-KPMG-PCAOB-00007329 –   Documents pertinent to Megan Elizabeth Reardon
W-KPMG-PCAOB-00007455
W-KPMG-PCAOB-00007456 -   Documents pertinent to Travis Shamburger
W-KPMG-PCAOB-00007481
W-KPMG-PCAOB-00007482 -   Documents pertinent to Jennifer Smith
W-KPMG-PCAOB-00007576
W-KPMG-PCAOB-00007577 –   Documents pertinent to Craig Black
W-KPMG-PCAOB-00007795
W-KPMG-PCAOB-00007796 –   Documents pertinent to Craig Collins
W-KPMG-PCAOB-00007839
W-KPMG-PCAOB-00007840     Additional document pertinent to Travis Shamburger
I-KPMG-PCAOB-00005804     Cisco KPMG Call Logs
I-KPMG-PCAOB-00005805 –   Document pertinent to the Audit Quality Bonus Program
I-KPMG-PCAOB-00005806
I-KPMG-PCAOB-00005807 –   Documents pertinent to Dave Marino
I-KPMG-PCAOB-00005809
W-KPMG-PCAOB-00007841 –   Documents pertinent to Lauren Hamilton
W-KPMG-PCAOB-00007895
W-KPMG-PCAOB-00007896 –   Documents pertinent to Jack Myers
W-KPMG-PCAOB-00007980
W-KPMG-PCAOB-00007981 –   Documents pertinent to Jeffrey Walling
W-KPMG-PCAOB-00008049
W-KPMG-PCAOB-00008050 –   Documents pertinent to Tony Gahn
W-KPMG-PCAOB-00008088
I-KPMG-PCAOB-00005810 –   Documents pertinent to Brian Sweet
I-KPMG-PCAOB-00006145
I-KPMG-PCAOB-00006146 –   Documents pertinent to Sweet’s lunches with KPMG personnel
                          during the week of May 4, 2015
I-KPMG-PCAOB-00006216
W-KPMG-PCAOB-00008089 –   Documents pertinent to Adrian Aguilar
W-KPMG-PCAOB-00008120
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W-KPMG-PCAOB-00008121 –   Documents pertinent to Scott Frew
W-KPMG-PCAOB-00008229
S-KPMG-PCAOB-00000037 -   Communications with counsel for David Britt regarding his
S-KPMG-PCAOB-00000045     Samsung Galaxy S5 and SD card provided to KPMG


W-KPMG-PCAOB-00008230–    Documents pertinent to Leigh Wilson Gasparovic
W-KPMG-PCAOB-00008246
I-KPMG-PCAOB-00006217 –   Documents pertinent to Cynthia Holder
I-KPMG-PCAOB-00006303
W-KPMG-PCAOB-00008247–    Documents pertinent to Sevan Aratounians
W-KPMG-PCAOB-00008286
W-KPMG-PCAOB-00008287–    Documents pertinent to Brian Janes
W-KPMG-PCAOB-00008383
W-KPMG-PCAOB-00008384–    Documents pertinent to Larry Leva
W-KPMG-PCAOB-00008468
W-KPMG-PCAOB-00008469–    Documents pertinent to Robert “Trey” Weatherford
W-KPMG-PCAOB-00008525
S-KPMG-PCAOB-00000046 -   Communications with counsel for Scott Marcello regarding
S-KPMG-PCAOB-00000048     provision of his iPhone 6 and iPad Pro 128 to KPMG
W-KPMG-PCAOB-00008526–    Documents pertinent to Ryan Fortman
W-KPMG-PCAOB-00008730
W-KPMG-PCAOB-00008731–    Documents pertinent to Howard Meltzer
W-KPMG-PCAOB-00008763
I-KPMG-PCAOB-00006418 –   Documents pertinent to Thomas Canfarotta
I-KPMG-PCAOB-00006425
I-KPMG-PCAOB-00006468 –
I-KPMG-PCAOB-00006469
I-KPMG-PCAOB-00006478 –
I-KPMG-PCAOB-00006485
I-KPMG-PCAOB-00006497 –
I-KPMG-PCAOB-00006555
I-KPMG-PCAOB-00006569 –
I-KPMG-PCAOB-00006627
I-KPMG-PCAOB-00006470 –   Documents pertinent to George Hermann
I-KPMG-PCAOB-00006477
I-KPMG-PCAOB-00006556 –
I-KPMG-PCAOB-00006568
I-KPMG-PCAOB-00006304 –   Cellular phone records for Brian Sweet and Cindy Holder
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I-KPMG-PCAOB-00006417
I-KPMG-PCAOB-00006426 –
I-KPMG-PCAOB-00006467
I-KPMG-PCAOB-00006486 –
I-KPMG-PCAOB-00006496
I-KPMG-PCAOB-00006632 –   Documents pertinent to Sweet’s lunches with KPMG personnel
I-KPMG-PCAOB-00006635     during the week of May 4, 2015
I-KPMG-PCAOB-00006628 –   Documents pertinent to services rendered by Palantir to KPMG
I-KPMG-PCAOB-00006631
I-KPMG-PCAOB-00006636 –
I-KPMG-PCAOB-00006674
W-KPMG-PCAOB-00008764 -   Documents pertinent to John Atkinson
W-KPMG-PCAOB-00008813
W-KPMG-PCAOB-00008814 -   Documents pertinent to Apeksha Rane
W-KPMG-PCAOB-00008858
S-KPMG-PCAOB-00000049;    Communications with counsel for David Middendorf regarding
                          provision of his iPhone 6s Plus to KPMG
S-KPMG-PCAOB-00000052 -
S-KPMG-PCAOB-00000054
S-KPMG-PCAOB-00000050 -   Communications with counsel for Thomas Whittle III regarding
S-KPMG-PCAOB-00000051     provision of his iPhone 6 to KPMG
S-KPMG-PCAOB-00000055 -   Communications with counsel for Scott Marcello regarding
S-KPMG-PCAOB-00000056     provision of his iPhone 6 and iPad Pro 128 to KPMG
W-KPMG-PCAOB-00008859 -   Documents pertinent to Erik Hiller
W-KPMG-PCAOB-00009159
W-KPMG-PCAOB-00009160 -   Documents pertinent to Robert Finn
W-KPMG-PCAOB-00009306
W-KPMG-PCAOB-00009307 -   Documents pertinent to Nathan Milton
W-KPMG-PCAOB-00009331
W-KPMG-PCAOB-00009332 -   Documents pertinent to John Rodi
W-KPMG-PCAOB-00009354
W-KPMG-PCAOB-00009355 -   Documents pertinent to Ryan Adams
W-KPMG-PCAOB-00009589
W-KPMG-PCAOB-00009590 -   Additional documents pertinent to John Rodi
W-KPMG-PCAOB-00009610
W-KPMG-PCAOB-00009611 -   Documents pertinent to Steve Scott
W-KPMG-PCAOB-00009629
W-KPMG-PCAOB-00009630 -   Documents pertinent to John Ebner
W-KPMG-PCAOB-00009658
W-KPMG-PCAOB-00009659 -   Documents pertinent to Steven McMullen
W-KPMG-PCAOB-00009868
W-KPMG-PCAOB-00009869 -   Additional document pertinent to Apeksha Rane
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W-KPMG-PCAOB-00009871
I-KPMG-PCAOB-00006720     Documents pertinent to Jennifer Lauer
I-KPMG-PCAOB-00006734 -
I-KPMG-PCAOB-00006736
I-KPMG-PCAOB-00006866
I-KPMG-PCAOB-00006868
I-KPMG-PCAOB-00006885
I-KPMG-PCAOB-00007055 -
I-KPMG-PCAOB-00007091
I-KPMG-PCAOB-00007335 -
I-KPMG-PCAOB-00007340
I-KPMG-PCAOB-00007342 -
I-KPMG-PCAOB-00007350
I-KPMG-PCAOB-00007356 -
I-KPMG-PCAOB-00007357
I-KPMG-PCAOB-00006675-    Documents pertinent to Thomas “Joe” Lynch
I-KPMG-PCAOB-00006686
I-KPMG-PCAOB-00006704-
I-KPMG-PCAOB-00006708
I-KPMG-PCAOB-00006712-
I-KPMG-PCAOB-00006713
I-KPMG-PCAOB-00006716-
I-KPMG-PCAOB-00006719
I-KPMG-PCAOB-00006739-
I-KPMG-PCAOB-00006748
I-KPMG-PCAOB-00006750-
I-KPMG-PCAOB-00006751
I-KPMG-PCAOB-00006761
I-KPMG-PCAOB-00006843-
I-KPMG-PCAOB-00006854
I-KPMG-PCAOB-00006858-
I-KPMG-PCAOB-00006864
I-KPMG-PCAOB-00006869
I-KPMG-PCAOB-00006872-
I-KPMG-PCAOB-00006879
I-KPMG-PCAOB-00007341
I-KPMG-PCAOB-00007351-
I-KPMG-PCAOB-00007355
I-KPMG-PCAOB-00007359-
I-KPMG-PCAOB-00007402
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I-KPMG-PCAOB-00006692-   Documents pertinent to Robert Larson
I-KPMG-PCAOB-00006694
I-KPMG-PCAOB-00006732
I-KPMG-PCAOB-00006868
I-KPMG-PCAOB-00007068
I-KPMG-PCAOB-00007094-
I-KPMG-PCAOB-00007334
I-KPMG-PCAOB-00007358
I-KPMG-PCAOB-00006687-   Documents pertinent to Jennifer Stemple
I-KPMG-PCAOB-00006691
I-KPMG-PCAOB-00006695-
I-KPMG-PCAOB-00006703
I-KPMG-PCAOB-00006709-
I-KPMG-PCAOB-00006711
I-KPMG-PCAOB-00006714-
I-KPMG-PCAOB-00006715
I-KPMG-PCAOB-00006721-
I-KPMG-PCAOB-00006731
I-KPMG-PCAOB-00006733
I-KPMG-PCAOB-00006737-
I-KPMG-PCAOB-00006738
I-KPMG-PCAOB-00006749
I-KPMG-PCAOB-00006752-
I-KPMG-PCAOB-00006760
I-KPMG-PCAOB-00006762-
I-KPMG-PCAOB-00006842
I-KPMG-PCAOB-00006855-
I-KPMG-PCAOB-00006857
I-KPMG-PCAOB-00006865
I-KPMG-PCAOB-00006867
I-KPMG-PCAOB-00006870-
I-KPMG-PCAOB-00006871
I-KPMG-PCAOB-00006880-
I-KPMG-PCAOB-00006884
I-KPMG-PCAOB-00006886-
I-KPMG-PCAOB-00007054
I-KPMG-PCAOB-00007092-
I-KPMG-PCAOB-00007093
I-KPMG-PCAOB-00007403-   Documents pertinent to Sweet’s lunches with KPMG Personnel
I-KPMG-PCAOB-00007404    during the week of May 4, 2015
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W-KPMG-PCAOB-00009872 -   Documents pertinent to Amy Ancheta
W-KPMG-PCAOB-00010140
W-KPMG-PCAOB-00010141 -   Documents pertinent to Lane Flood
W-KPMG-PCAOB-00010389
W-KPMG-PCAOB-00010390 -   Additional documents pertinent to John Rodi
W-KPMG-PCAOB-00010393
W-KPMG-PCAOB-00010394 -   Documents pertinent to Carmela Thomson
W-KPMG-PCAOB-00010458
I-KPMG-PCAOB-00007405-    Additional documents of interest
I-KPMG-PCAOB-00008347
I-KPMG-PCAOB-00008434-
I-KPMG-PCAOB-00008474
I-KPMG-PCAOB-00008375-    KPMG policies and procedures regarding ethics
I-KPMG-PCAOB-00008433
I-KPMG-PCAOB-00008475-
I-KPMG-PCAOB-00008559
W-KPMG-PCAOB-00010459 -   Document pertinent to John Hopkins
W-KPMG-PCAOB-00010585
W-KPMG-PCAOB-00010586 -   Documents pertinent to Christian Peo
W-KPMG-PCAOB-00010631
I-KPMG-PCAOB-00008560-    Documents pertinent to David Britt
I-KPMG-PCAOB-00008562
W-KPMG-PCAOB-00010632-
W-KPMG-PCAOB-00010633
W-KPMG-PCAOB-00010634-    Documents pertinent to Scott Feurman
W-KPMG-PCAOB-00010648
I-KPMG-PCAOB-00008563-    Documents pertinent to Scott Marcello
I-KPMG-PCAOB-00008572
W-KPMG-PCAOB-00010649
W-KPMG-PCAOB-00010650-    Documents pertinent to Anand Tailor
W-KPMG-PCAOB-00010874
I-KPMG-PCAOB-00008739-    Documents pertinent to John Broderick
I-KPMG-PCAOB-00008744
I-KPMG-PCAOB-00008746-
I-KPMG-PCAOB-00008752
I-KPMG-PCAOB-00009070-
I-KPMG-PCAOB-00009075
I-KPMG-PCAOB-00010861-
I-KPMG-PCAOB-00010965
I-KPMG-PCAOB-00011129-
I-KPMG-PCAOB-00011136
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I-KPMG-PCAOB-00009175-    Documents pertinent to Christopher Brown
I-KPMG-PCAOB-00009301
I-KPMG-PCAOB-00009317-
I-KPMG-PCAOB-00009632
I-KPMG-PCAOB-00009650-
I-KPMG-PCAOB-00010860
I-KPMG-PCAOB-00008745     Documents pertinent to Bradley Forsberg
I-KPMG-PCAOB-00008753
I-KPMG-PCAOB-00010966-
I-KPMG-PCAOB-00011128
I-KPMG-PCAOB-00008655-    Documents pertinent to Diana Kunz
I-KPMG-PCAOB-00008734
I-KPMG-PCAOB-00008754-
I-KPMG-PCAOB-00008785
I-KPMG-PCAOB-00009076-
I-KPMG-PCAOB-00009174
I-KPMG-PCAOB-00008573-    Documents pertinent to Peter Torrente
I-KPMG-PCAOB-00008654
I-KPMG-PCAOB-00008735-
I-KPMG-PCAOB-00008738
I-KPMG-PCAOB-00008986-
I-KPMG-PCAOB-00009069
I-KPMG-PCAOB-00009302-
I-KPMG-PCAOB-00009316
I-KPMG-PCAOB-00009633-
I-KPMG-PCAOB-00009649
W-KPMG-PCAOB-00010875-    Documents pertinent to Louann Sakala
W-KPMG-PCAOB-00010939
W-KPMG-PCAOB-00010940-    Documents pertinent to Andrew Crouch
W-KPMG-PCAOB-00011121
W-KPMG-PCAOB-00011122-    Documents pertinent to Marc Macaulay
W-KPMG-PCAOB-00011219
W-KPMG-PCAOB-00011220-    Documents pertinent to Dimitrios Antoniou
W-KPMG-PCAOB-00011271
W-KPMG-PCAOB-00011272-    Documents pertinent to Kulwinder Gill
W-KPMG-PCAOB-00011626
W-KPMG-PCAOB-00011627-    Documents pertinent to Sean Kelley
W-KPMG-PCAOB-00013309
I-KPMG-PCAOB-00001896 -   Select documents reflecting possible changes to audit work papers
I-KPMG-PCAOB-00001898     in 2016 – Banc of California
I-KPMG-PCAOB-00001165 -   Select documents reflecting possible changes to audit work papers
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I-KPMG-PCAOB-00001166     in 2016 - FBFS
I-KPMG-PCAOB-00001167
I-KPMG-PCAOB-00001168 -
I-KPMG-PCAOB-00001170
I-KPMG-PCAOB-00001171
I-KPMG-PCAOB-00001172
I-KPMG-PCAOB-00001173 -
I-KPMG-PCAOB-00001180
I-KPMG-PCAOB-00001181 -
I-KPMG-PCAOB-00001183
I-KPMG-PCAOB-00001590
I-KPMG-PCAOB-00001591 -
I-KPMG-PCAOB-00001593
I-KPMG-PCAOB-00001683 -
I-KPMG-PCAOB-00001786
I-KPMG-PCAOB-00001931 -
I-KPMG-PCAOB-00001933
I-KPMG-PCAOB-00008630 -
I-KPMG-PCAOB-00008366
W-KPMG-PCAOB-00001811 -   Select documents reflecting possible changes to audit work papers
W-KPMG-PCAOB-00001866     in 2016 – First Bancorp
W-KPMG-PCAOB-00001871 -
W-KPMG-PCAOB-00001878
W-KPMG-PCAOB-00001905 -
W-KPMG-PCAOB-00001941
W-KPMG-PCAOB-00001945 -
W-KPMG-PCAOB-00002056
W-KPMG-PCAOB-00002059 -
W-KPMG-PCAOB-00002124
W-KPMG-PCAOB-00002126 -
W-KPMG-PCAOB-00002194
W-KPMG-PCAOB-00006023
W-KPMG-PCAOB-00006025 -
W-KPMG-PCAOB-00006061
W-KPMG-PCAOB-00006089 -
W-KPMG-PCAOB-00006114
W-KPMG-PCAOB-00006119 -
W-KPMG-PCAOB-00006319
W-KPMG-PCAOB-00006325 -
W-KPMG-PCAOB-00006332
I-KPMG-PCAOB-00000499 -   Select documents reflecting possible changes to audit work papers
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I-KPMG-PCAOB-00000538     in 2016 – People’s United
I-KPMG-PCAOB-00000587 -
I-KPMG-PCAOB-00000714
I-KPMG-PCAOB-00000819 -
I-KPMG-PCAOB-00000906
I-KPMG-PCAOB-00001186 -   Select documents reflecting possible changes to audit work papers
I-KPMG-PCAOB-00001201     in 2016 - UMB
I-KPMG-PCAOB-00001284 -
I-KPMG-PCAOB-00001305
I-KPMG-PCAOB-00001380 -
I-KPMG-PCAOB-00001389
I-KPMG-PCAOB-00001398 -
I-KPMG-PCAOB-00001468
I-KPMG-PCAOB-00001507
I-KPMG-PCAOB-00001796 -
I-KPMG-PCAOB-00001825
I-KPMG-PCAOB-00001829 -
I-KPMG-PCAOB-00001855
I-KPMG-PCAOB-00001857 -
I-KPMG-PCAOB-00001890
I-KPMG-PCAOB-00001184 -   Select documents reflecting possible changes to audit work papers
I-KPMG-PCAOB-00001185     in 2016 – Washington Trust and/or Century
I-KPMG-PCAOB-00001952 -
I-KPMG-PCAOB-00001960
I-KPMG-PCAOB-00007940 -
I-KPMG-PCAOB-00007994
I-KPMG-PCAOB-00008008 -
I-KPMG-PCAOB-00008011
I-KPMG-PCAOB-00008029 -
I-KPMG-PCAOB-00008033
I-KPMG-PCAOB-00008037 -
I-KPMG-PCAOB-00008139
W-KPMG-PCAOB-00013310 -   Additional documents pertinent to Sean Kelley
W-KPMG-PCAOB-00013679
I-KPMG-PCAOB-00011138     Documents pertinent to Stephen Georgian
I-KPMG-PCAOB-00011159 -
I-KPMG-PCAOB-00011168
I-KPMG-PCAOB-00011141 -   Documents pertinent to Stephen Penn
I-KPMG-PCAOB-00011146
I-KPMG-PCAOB-00011174 -
I-KPMG-PCAOB-00011357
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I-KPMG-PCAOB-00011139     Documents pertinent to James Liddy
I-KPMG-PCAOB-00011601 -
I-KPMG-PCAOB-00011668
I-KPMG-PCAOB-00011137     Documents pertinent to Richard Seagraves
I-KPMG-PCAOB-00011140
I-KPMG-PCAOB-00011169 -
I-KPMG-PCAOB-00011173
I-KPMG-PCAOB-00011175
I-KPMG-PCAOB-00011358 -
I-KPMG-PCAOB-00011600
I-KPMG-PCAOB-00011147 -   Documents pertinent to Jeffrey Lutz
I-KPMG-PCAOB-00011158
W-KPMG-PCAOB-00013680 -   Revised call charts Corresponding to KPMG-PCAOB-00000012,
W-KPMG-PCAOB-00013684     KPMG-PCAOB-00000032-33, KPMG-PCAOB-00000063
W-KPMG-PCAOB-00013685 -   Documents pertinent to Tara Baucom
W-KPMG-PCAOB-00013748
W-KPMG-PCAOB-00013749 -   Additional documents pertinent to Michael Martens
W-KPMG-PCAOB-00013753
I-KPMG-PCAOB-00011857 -   Documents pertinent to Andrew Davidson
I-KPMG-PCAOB-00011974
I-KPMG-PCAOB-00012150 -
I-KPMG-PCAOB-00012183
I-KPMG-PCAOB-00011669 -   Documents pertinent Michael Flynn
I-KPMG-PCAOB-00011682
I-KPMG-PCAOB-00011690 -
I-KPMG-PCAOB-00011694
I-KPMG-PCAOB-00011809 -
I-KPMG-PCAOB-00011810
I-KPMG-PCAOB-00011815 -
I-KPMG-PCAOB-00011821
I-KPMG-PCAOB-00011823 -
I-KPMG-PCAOB-00011828
I-KPMG-PCAOB-00012620 -
I-KPMG-PCAOB-00012672
I-KPMG-PCAOB-00012836 -
I-KPMG-PCAOB-00012838
I-KPMG-PCAOB-00012841 -
I-KPMG-PCAOB-00012874
I-KPMG-PCAOB-00012877 -
I-KPMG-PCAOB-00012880
I-KPMG-PCAOB-00011835 -   Documents pertinent to Joseph Gencarella
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I-KPMG-PCAOB-00011856
I-KPMG-PCAOB-00011684 -   Documenter pertinent to Paul Manos
I-KPMG-PCAOB-00011689
I-KPMG-PCAOB-00013049 -
I-KPMG-PCAOB-00013254
I-KPMG-PCAOB-00011683     Documents pertinent to Mark Niswonger
I-KPMG-PCAOB-00011701 -
I-KPMG-PCAOB-00011703
I-KPMG-PCAOB-00011797
I-KPMG-PCAOB-00011807 -
I-KPMG-PCAOB-00011808
I-KPMG-PCAOB-00012553 -
I-KPMG-PCAOB-00012557
I-KPMG-PCAOB-00012673 -
I-KPMG-PCAOB-00012835
I-KPMG-PCAOB-00012839 -
I-KPMG-PCAOB-00012840
I-KPMG-PCAOB-00012875 -
I-KPMG-PCAOB-00012876
I-KPMG-PCAOB-00012888 -
I-KPMG-PCAOB-00012996
I-KPMG-PCAOB-00013047 -
I-KPMG-PCAOB-00013048
I-KPMG-PCAOB-00011798 -   Documents pertinent to William O’Mara
I-KPMG-PCAOB-00011806
I-KPMG-PCAOB-00011811 -
I-KPMG-PCAOB-00011814
I-KPMG-PCAOB-00011822
I-KPMG-PCAOB-00011829 -
I-KPMG-PCAOB-00011834
I-KPMG-PCAOB-00012881 -
I-KPMG-PCAOB-00013039
I-KPMG-PCAOB-00013040 -   Additional documents pertinent to Hector Santana
I-KPMG-PCAOB-00013046
I-KPMG-PCAOB-00011975 -   Documents pertinent to Paul Tupper
I-KPMG-PCAOB-00012149
I-KPMG-PCAOB-00011695 -   Documents pertinent to John Verdonck
I-KPMG-PCAOB-00011700
I-KPMG-PCAOB-00011704 -
I-KPMG-PCAOB-00011796
I-KPMG-PCAOB-00012577 -
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    I-KPMG-PCAOB-00012619
    I-KPMG-PCAOB-00013255 -
    I-KPMG-PCAOB-00013529
    I-KPMG-PCAOB-00011835 -     Documents pertinent to Christopher Van Voorhies
    I-KPMG-PCAOB-00011856
    I-KPMG-PCAOB-00013553 -     Cisco and Avaya KPMG Call Logs
    I-KPMG-PCAOB-00013574
    I-KPMG-PCAOB-00013530 -     Logs of internet search history and internet websites visited
    I-KPMG-PCAOB-00013551
    I-KPMG-PCAOB-00013552       Spreadsheet containing Travel and Expenses
    W-KPMG-PCAOB-00013754 -     Additional documents pertinent to Thomas Canfarotta
    W-KPMG-PCAOB-00013825
    W-KPMG-PCAOB-00013826       Additional document pertinent to David Middendorf
    S-KPMG-PCAOB-00000057       Chart identifying third parties engaged or consulted by KPMG
                                LLP regarding PCAOB inspection process
    W-KPMG-PCAOB-00013827 -     Additional documents pertinent to David Middendorf 3
    W-KPMG-PCAOB-00013840
    W-KPMG-PCAOB-00013841       Additional document pertinent to Brian Sweet
    I-KPMG-PCAOB-00013575 -     Documents pertinent to audit of the financial statements of UMB
    I-KPMG-PCAOB-00013829       Financial Corp. for the fiscal year ending Dec. 31, 2015
    W-KPMG-PCAOB-00013842 -     Additional documents pertinent to Hector Santana
    W-KPMG-PCAOB-00013895
    W-KPMG-PCAOB-00013896 -     Additional documents pertinent to David Britt, comprised of email
    W-KPMG-PCAOB-00013919       communications from KPMG’s exchange email servers and a hard
                                copy document from Mr. Britt’s KPMG office (W-KPMG-
                                PCAOB-00013899) that was previously produced in a different
                                format on June 19, 2017 as W-KPMG-PCAOB-00013919
    W-KPMG-PCAOB-00013920 -     Additional documents pertinent to David Britt
    W-KPMG-PCAOB-00013921
    I-KPMG-PCAOB-00013830 -     Additional email communications from KPMG’s exchange email
    I-KPMG-PCAOB-00013928       servers pertinent to the matter under investigation
    W-KPMG-PCAOB-00013922 -     Images from Brian Sweet’s mobile phone
    W-KPMG-PCAOB-00013924
    W-KPMG-PCAOB-00013925 -     Hard copy document from Adrian Aguilar consisting of potentially
    W-KPMG-PCAOB-00014011       confidential PCAOB material, which was provided to Williams &
                                Connolly by Mr. Aguilar’s counsel
    W-KPMG-PCAOB-00014012       Hand-written notes of Cynthia Holder retrieved from a Northern
                                Trust site, which were provided to Williams & Connolly by Amy
                                Ancheta’s counsel

3
 W-KPMG-PCAOB-00013830 includes notes that KPMG previously produced in a different format on
August 23, 2017 as W-KPMG-PCAOB-00013826.
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W-KPMG-PCAOB-00014013 –   Additional document pertinent to Laurie Mullen, consisting of
W-KPMG-PCAOB-00014020     hand-written notes collected from Ms. Mullen
W-KPMG-PCAOB-00014021 -   Additional documents pertinent to Brian Sweet, consisting of hard
W-KPMG-PCAOB-00014145     copy documents from Mr. Sweet’s KPMG New York office that
                          contain potential confidential PCAOB material
I-KPMG-PCAOB-00014509 -   Documents pertinent to Brian Sweet’s expense reimbursement,
I-KPMG-PCAOB-00014523     comprised of an email communication from KPMG’s exchange
                          mail servers
W-KPMG-PCAOB-00014146 -   Documents pertinent to Gregory Ryerson, comprised of email
W-KPMG-PCAOB-00014292     communications from KPMG’s exchange email servers
W-KPMG-PCAOB-00014293     An electronic communication from KPMG’s exchange email
                          servers pertinent to Jennifer Stemple
I-KPMG-PCAOB-00014524     Additional email communications from KPMG’s exchange email
                          servers generally pertinent to the matter under investigation
I-KPMG-PCAOB-00014531 -
I-KPMG-PCAOB-00014535
I-KPMG-PCAOB-00014539 -
I-KPMG-PCAOB-00014542
I-KPMG-PCAOB-00014571
I-KPMG-PCAOB-00014783 -
I-KPMG-PCAOB-00014784
I-KPMG-PCAOB-00014816 -
I-KPMG-PCAOB-00014826
I-KPMG-PCAOB-00014883 -
I-KPMG-PCAOB-00014890
I-KPMG-PCAOB-00014911 -
I-KPMG-PCAOB-00014913
I-KPMG-PCAOB-00014916 -
I-KPMG-PCAOB-00014921
I-KPMG-PCAOB-00014525 -   Additional documents pertinent to John Amraen
I-KPMG-PCAOB-00014530
I-KPMG-PCAOB-00014536 -
I-KPMG-PCAOB-00014538
I-KPMG-PCAOB-00015111 -
I-KPMG-PCAOB-00015413
I-KPMG-PCAOB-00014782     Additional documents pertinent to David Britt
I-KPMG-PCAOB-00015113 -
I-KPMG-PCAOB-00015116
I-KPMG-PCAOB-00014543 -   Additional documents pertinent to Michael Campanile
I-KPMG-PCAOB-00014547
I-KPMG-PCAOB-00014940 -
I-KPMG-PCAOB-00014958
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I-KPMG-PCAOB-00015122 -   Additional documents pertinent to Thomas Canfarotta
I-KPMG-PCAOB-00015123
I-KPMG-PCAOB-00014785 -   Additional documents pertinent to Andrew Davidson
I-KPMG-PCAOB-00014815
I-KPMG-PCAOB-00014891 -
I-KPMG-PCAOB-00014910
I-KPMG-PCAOB-00014959 -   Additional documents pertinent to Michael Flynn
I-KPMG-PCAOB-00014024
I-KPMG-PCAOB-00014572 -   Additional documents pertinent to Joseph Gencarella
I-KPMG-PCAOB-00014781
I-KPMG-PCAOB-00014548 -   Additional documents pertinent to Diana Kunz
I-KPMG-PCAOB-00014570
I-KPMG-PCAOB-00015025 -   Additional documents pertinent to William O’Mara
I-KPMG-PCAOB-00015110
I-KPMG-PCAOB-00015414 -   Additional documents pertinent to Paul Manos
I-KPMG-PCAOB-00015467
I-KPMG-PCAOB-00014922 -   Additional documents pertinent to Jennifer Stemple
I-KPMG-PCAOB-00014925
I-KPMG-PCAOB-00018543 -   Additional documents pertinent to Jennifer Stemple consisting of
I-KPMG-PCAOB-00019161     hard copy documents that were provided to Williams & Connolly
                          by Ms. Stemple’s counsel
I-KPMG-PCAOB-00015678 -   Additional documents pertinent to Brian Sweet, consisting of hard
I-KPMG-PCAOB-00018539     copy documents from Mr. Sweet’s KPMG New York office.
I-KPMG-PCAOB-00014827 -   Additional documents pertinent to Paul Tupper
I-KPMG-PCAOB-00014882
I-KPMG-PCAOB-00014914 -   Additional documents pertinent to Christopher Van Voorhies
I-KPMG-PCAOB-00014915
I-KPMG-PCAOB-00014543 -   Additional documents pertinent to John Verdonck
I-KPMG-PCAOB-00014547
I-KPMG-PCAOB-00014926 -
I-KPMG-PCAOB-00014958
I-KPMG-PCAOB-00015468 -
I-KPMG-PCAOB-00015517
I-KPMG-PCAOB-00015518 -   Compensation material pertinent to Ryan Adams, John Amraen,
I-KPMG-PCAOB-00015677     David Britt, Thomas Canfarotta, George Herrmann, Scott
                          Feurman, Scott Henderson, Cynthia Holder, Sean Kelley, Robert
I-KPMG-PCAOB-00018540 -
                          Larson, Jennifer Lauer, Thomas “Joe” Lynch, Scott Marcello,
I-KPMG-PCAOB-00018542
                          David Middendorf, Louann Sakala, Hector Santana, Jennifer
I-KPMG-PCAOB-00019162 -   Stemple, Brian Sweet, Anand Tailor, Michael Tucker, and Thomas
I-KPMG-PCAOB-00019248     Whittle III, from KPMG’s systems.
I-KPMG-PCAOB-00013929-    Documents pertinent to the review of work papers after March 27,
I-KPMG-PCAOB-00014508     2016 regarding the audit of the financial statements and internal
                          control over financial reporting of People's United Financial, Inc.,
                          for the fiscal year ending Dec. 31, 2015, comprised of email
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                               communications from KPMG’s exchange email servers and
                               KPMG eAudIT files
     I-KPMG-PCAOB-00019249-    Compensation documents from KPMG’s systems pe1iinent to
     I-KPMG-PCAOB-00019339     Request Nos. 2(g) and 16 from the SEC's May 11, 2016 Letter
     I-KPMG-PCAOB-00019340-    Additional documents pertinent to the review of work papers after
     I-KPMG-PCAOB-00019493     March 27, 2016 regarding the audit of the financial statements and
                               internal control over financial reporting of UMB Financial Corp.,
                               for the fiscal year ending Dec. 31, 2015, comprised of audit work
                               papers from KPMG eAudIT files as well as eAudIT “Sign Off
                               History” sheets that correspond to work papers previously
                               produced on Sept. 8, 2017 4
     I-KPMG-PCAOB-00019494-    Documents pe1iinent to the review of work papers after March 27,
     I-KPMG-PCAOB-00020236     2016 regarding the audit of the financial statements and internal
                               control over financial reporting of Century Bancorp, Inc., for the
                               fiscal year ending Dec. 31, 2015, comprised of email
                               communications from KPMG's exchange email servers and
                               KPMG eAudIT files
     I-KPMG-PCAOB-00020237     Documents pe1iinent to the review of work papers after March 27,
     I-KPMG-PCAOB-00020530     2016 regarding the audit of the financial statements and internal
                               control over financial reporting of Banc of California, Inc., for the
                               fiscal year ending Dec.31, 2015, comprised of email
                               communications from KPMG's exchange email servers and
                               KPMG eAudIT files
     I-KPMG-PCAOB-00020531 -   Documents pertinent to the review of work papers after March 27,
     I-KPMG-PCAOB-00021436     2016 regarding the audit of financial statements and internal
                               control over financial reporting of First Business Financial
                               Services, Inc. for the fiscal year ending Dec. 31, 2015
                               compromised of email communications from KPMG’s exchange
                               email servers and KPMG eAudIT files.
     I-KPMG-PCAOB-00021437 -   Documents pertinent to the review of work papers after March 27,
     I-KPMG-PCAOB-00024513     2016 regarding the audit of the financial statements and internal
                               control over financial reporting of First BanCorp. for the fiscal
                               year ending Dec. 31, 2015, comprised of email communications
                               from KPMG's exchange email servers and KPMG eAudIT files
     I-KPMG-PCAOB-00024514-    Documents pe1iinent to the review of work papers after March 27,
     I-KPMG-PCAOB-00024666     2016 regarding the audit of the financial statements and internal
                               control over financial reporting of The BonTon Stores, Inc. for the
                               fiscal year ending Dec. 31, 2015, comprised of email
                               communications from KPMG's exchange email servers and
                               KPMG eAudIT files
     I-KPMG-PCAOB-00024667 -   Native versions of documents previously produced in PDF form,
     I-KPMG-PCAOB-00044290     comprised of documents from KPMG’s exchange email servers
                               and electronic systems; the data field “SA - Sidley Produced IDs”
                               provides a cross reference to documents previously produced in
                               PDF form
     I-KPMG-PCAOB-00044291 -   Additional iteration of email pertinent to Brian Sweet from
     I-KPMG-PCAOB-00044292     KPMG’s exchange email servers (see I-KPMG-PCAOB-


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    See Attachment D
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                          00005677)
I-KPMG-PCAOB-00044293     March 28, 2016 email from Thomas Whittle III to William
                          O’Leary from KPMG's exchange email servers
I-KPMG-PCAOB-00044294 -   Documents pertinent to the review of work papers after March 27,
I-KPMG-PCAOB-00045079     2016 regarding the audit of financial statements and internal
                          control over financial reporting of Ambac Financial Group, Inc.
                          for the fiscal year ending Dec. 31, 2015 compromised of email
                          communications from KPMG’s exchange email servers and
                          KPMG eAudIT file
I-KPMG-PCAOB-00045080 -   Documents pertinent to the review of work papers after March 27,
I-KPMG-PCAOB-00045978     2016 regarding the audit of financial statements and internal
                          control over financial reporting of NewStar Financial, Inc. for the
                          fiscal year ending Dec. 31, 2015 compromised of email
                          communications from KPMG’s exchange email servers and
                          KPMG eAudIT files
I-KPMG-PCAOB-00045979 -   Additional documents pertinent to the review of work papers after
I-KPMG-PCAOB-00046324     March 27, 2016 regarding the audit of financial statements and
                          internal control over financial reporting of First Business Financial
I-KPMG-PCAOB-00046799 -
                          Services, Inc. for the fiscal year ending Dec. 31, 2015
I-KPMG-PCAOB-00047436
                          compromised of email communications from KPMG’s exchange
                          email servers and KPMG eAudIT files
I-KPMG-PCAOB-00046325 -   Additional documents pertinent to the review of work papers after
I-KPMG-PCAOB-00046798     March 27, 2016 regarding the audit of financial statements and
                          internal control over financial reporting of Century Bancorp, Inc.
I-KPMG-PCAOB-00047437 -
                          for the fiscal year ending Dec. 31, 2015 compromised of email
I-KPMG-PCAOB-00047950
                          communications from KPMG’s exchange email servers and
                          KPMG eAudit files
I-KPMG-PCAOB-00047951 -   Additional email communications from KPMG’s exchange email
I-KPMG-PCAOB-00047960     servers pertinent to the matter under investigation
I-KPMG-PCAOB-00047975 -
I-KPMG-PCAOB-00047981
I-KPMG-PCAOB-00047992 -
I-KPMG-PCAOB-00048007
I-KPMG-PCAOB-00048017 -
I-KPMG-PCAOB-00048018
I-KPMG-PCAOB-00048021 -
I-KPMG-PCAOB-00048042
I-KPMG-PCAOB-00048084
I-KPMG-PCAOB-00048210 -
I-KPMG-PCAOB-00048217
I-KPMG-PCAOB-00048437
I-KPMG-PCAOB-00048443 -
I-KPMG-PCAOB-00048487
I-KPMG-PCAOB-00048494 -
I-KPMG-PCAOB-00048544
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I-KPMG-PCAOB-00048546 -
I-KPMG-PCAOB-00049831
I-KPMG-PCAOB-00047961 -   Additional documents pertinent to Cynthia Holder, comprised of
I-KPMG-PCAOB-00047974     email communications from KPMG’s exchange email servers
I-KPMG-PCAOB-00047982 -
I-KPMG-PCAOB-00047991
I-KPMG-PCAOB-00048008 -
I-KPMG-PCAOB-00048016
I-KPMG-PCAOB-00048019 -
I-KPMG-PCAOB-00048020
I-KPMG-PCAOB-00048043 -
I-KPMG-PCAOB-00048083
I-KPMG-PCAOB-00048085 -
I-KPMG-PCAOB-00048209
I-KPMG-PCAOB-00048218 -
I-KPMG-PCAOB-00048436
I-KPMG-PCAOB-00048438 -
I-KPMG-PCAOB-00048442
I-KPMG-PCAOB-00048488 -
I-KPMG-PCAOB-00048493
I-KPMG-PCAOB-00048545     Additional document pertinent to Dabie Tsai, comprised of a
                          communication from KPMG’s exchange email servers

I-KPMG-PCAOB-00049832 -   Documents related to Adrian Aguilar, August Bellome, David
I-KPMG-PCAOB-00050457     Knibbs, Jung Lee, Robert Ross, or Jeffrey Watkins during May 1,
                          2015 to present (except for Adrian Aguilar during May 1, 2015 to
I-KPMG-PCAOB-00050474-    his KPMG start date, May 16, 2016), comprised of email
I-KPMG-PCAOB-00050537     communications from KPMG’s exchange email servers

I-KPMG-PCAOB-00050554-
I-KPMG-PCAOB-00051227

I-KPMG-PCAOB-00051242-
I-KPMG-PCAOB-00051247

I-KPMG-PCAOB-00051249-
I-KPMG-PCAOB-00051405

I-KPMG-PCAOB-00051416-
I-KPMG-PCAOB-00051619

I-KPMG-PCAOB-00051625 -
I-KPMG-PCAOB-00053410

I-KPMG-PCAOB-00053444 -
I-KPMG-PCAOB-00053779

I-KPMG-PCAOB-00053783 -
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I-KPMG-PCAOB-00054511
I-KPMG-PCAOB-00054522-
I-KPMG-PCAOB-00054549

I-KPMG-PCAOB-00054555 -
I-KPMG-PCAOB-00055655

I-KPMG-PCAOB-00055658 -
I-KPMG-PCAOB-00055660

I-KPMG-PCAOB-00055672-
I-KPMG-PCAOB-00055706

I-KPMG-PCAOB-00055726-
I-KPMG-PCAOB-00055762

I-KPMG-PCAOB-00055872-
I-KPMG-PCAOB-00055877

I-KPMG-PCAOB-00055920-
I-KPMG-PCAOB-00056360

I-KPMG-PCAOB-00056362-
I-KPMG-PCAOB-00056364

I-KPMG-PCAOB-00056377 -
I-KPMG-PCAOB-00056388

I-KPMG-PCAOB-00056391 -
I-KPMG-PCAOB-00056410

I-KPMG-PCAOB-00056415 -
I-KPMG-PCAOB-00056420

I-KPMG-PCAOB-00056443 -
I-KPMG-PCAOB-00056564

I-KPMG-PCAOB-00056570-
I-KPMG-PCAOB-00056636

I-KPMG-PCAOB-00056679-
I-KPMG-PCAOB-00056757

I-KPMG-PCAOB-00056763 -
I-KPMG-PCAOB-00056838

I-KPMG-PCAOB-00056858 -
I-KPMG-PCAOB-00056925

I-KPMG-PCAOB-00056934

I-KPMG-PCAOB-00056945 -
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I-KPMG-PCAOB-00056951

I-KPMG-PCAOB-00057119-
I-KPMG-PCAOB-00057370

I-KPMG-PCAOB-00057380-
I-KPMG-PCAOB-00057527

I-KPMG-PCAOB-00057530-
I-KPMG-PCAOB-00057563

I-KPMG-PCAOB-00057578 -
I-KPMG-PCAOB-00057774

I-KPMG-PCAOB-00057786-
I-KPMG-PCAOB-00058094

I-KPMG-PCAOB-00058137 -
I-KPMG-PCAOB-00058394

I-KPMG-PCAOB-00058396 -
I-KPMG-PCAOB-00058521

I-KPMG-PCAOB-00058530 -
I-KPMG-PCAOB-00061863

I-KPMG-PCAOB-00061865 -
I-KPMG-PCAOB-00061993
I-KPMG-PCAOB-00061995 -
I-KPMG-PCAOB-00062279

I-KPMG-PCAOB-00062290 -
I-KPMG-PCAOB-00062679

I-KPMG-PCAOB-00062695 -
I-KPMG-PCAOB-00062784

I-KPMG-PCAOB-00062787 -
I-KPMG-PCAOB-00062817

I-KPMG-PCAOB-00062819 -
I-KPMG-PCAOB-00063332

I-KPMG-PCAOB-00063335 -
I-KPMG-PCAOB-00063340

I-KPMG-PCAOB-00063343 -
I-KPMG-PCAOB-00063461

I-KPMG-PCAOB-00063463 -
I-KPMG-PCAOB-00063497
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I-KPMG-PCAOB-00063499-
I-KPMG-PCAOB-00063551

I-KPMG-PCAOB-00063553 -
I-KPMG-PCAOB-00063554

I-KPMG-PCAOB-00063568

I-KPMG-PCAOB-00063570 -
I-KPMG-PCAOB-00063577

I-KPMG-PCAOB-00063648

I-KPMG-PCAOB-00063651 -
I-KPMG-PCAOB-00063654

I-KPMG-PCAOB-00063670 -
I-KPMG-PCAOB-00064188

I-KPMG-PCAOB-00064190 -
I-KPMG-PCAOB-00064953

I-KPMG-PCAOB-00064957
I-KPMG-PCAOB-00064975

I-KPMG-PCAOB-00065018 -
I-KPMG-PCAOB-00067912

I-KPMG-PCAOB-00067923 -
I-KPMG-PCAOB-00067952

I-KPMG-PCAOB-00067987 -
I-KPMG-PCAOB-00069129

I-KPMG-PCAOB-00069172-
I-KPMG-PCAOB-00069275

I-KPMG-PCAOB-00069318 -
I-KPMG-PCAOB-00069485
I-KPMG-PCAOB-00050458 –   Communications between or among any of Thomas Canfarotta,
I-KPMG-PCAOB-00050473     George Herrmann, David Middendorf, John Mucha, Jim Liddy,
                          Brian Sweet, and Thomas Whittle for the period May 1,2015 to
I-KPMG-PCAOB-00050538 –   May 15, 2015, comprised of email communications from KPMG's
I-KPMG-PCAOB-00050553     exchange email servers

I-KPMG-PCAOB-00051228 –
I-KPMG-PCAOB-00051241

I-KPMG-PCAOB-00051248

I-KPMG-PCAOB-00051406 –
I-KPMG-PCAOB-00051415
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I-KPMG-PCAOB-00051620 -
I-KPMG-PCAOB-00051624

I-KPMG-PCAOB-00053411 –
I-KPMG-PCAOB-00053443
I-KPMG-PCAOB-00053780 -
I-KPMG-PCAOB-00053782

I-KPMG-PCAOB-00054512 -
I-KPMG-PCAOB-00054521

I-KPMG-PCAOB-00054550 -
I-KPMG-PCAOB-00054554

I-KPMG-PCAOB-00055656 -
I-KPMG-PCAOB-00055657

I-KPMG-PCAOB-00055661 –
 I-KPMG-PCAOB-00055671

I-KPMG-PCAOB-00055707 –
I-KPMG-PCAOB-00055725

I-KPMG-PCAOB-00055763 –
I-KPMG-PCAOB-00055871

I-KPMG-PCAOB-00055878 –
 I-KPMG-PCAOB-00055919

I-KPMG-PCAOB-00056361

I-KPMG-PCAOB-00056365 –
 I-KPMG-PCAOB-00056376

I-KPMG-PCAOB-00056389-
I-KPMG-PCAOB-00056390

I-KPMG-PCAOB-00056411 –
I-KPMG-PCAOB-00056414

I-KPMG-PCAOB-00056421 –
I-KPMG-PCAOB-00056442

I-KPMG-PCAOB-00056565 –
I-KPMG-PCAOB-00056569

I-KPMG-PCAOB-00056637 –
I-KPMG-PCAOB-00056678

I-KPMG-PCAOB-00056758 –
I-KPMG-PCAOB-00056762
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I-KPMG-PCAOB-00056839-
I-KPMG-PCAOB-00056857

I-KPMG-PCAOB-00056926 -
I-KPMG-PCAOB-00056933

I-KPMG-PCAOB-00056935 –
I-KPMG-PCAOB-00056944

I-KPMG-PCAOB-00056952-
I-KPMG-PCAOB-00057118

I-KPMG-PCAOB-00057371 –
I-KPMG-PCAOB-00057379

I-KPMG-PCAOB-00057528 –
I-KPMG-PCAOB-00057529

I-KPMG-PCAOB-00057564 –
I-KPMG-PCAOB-00057577

I-KPMG-PCAOB-00057775 –
I-KPMG-PCAOB-00057785

I-KPMG-PCAOB-00058095 –
I-KPMG-PCAOB-00058136

I-KPMG-PCAOB-00058395

I-KPMG-PCAOB-00058522-
I-KPMG-PCAOB-00058529

I-KPMG-PCAOB-00061864

I-KPMG-PCAOB-00061994

I-KPMG-PCAOB-00062680-
I-KPMG-PCAOB-00062694

I-KPMG-PCAOB-00062785 –
I-KPMG-PCAOB-00062786

I-KPMG-PCAOB-00062818

I-KPMG-PCAOB-00063333 –
 I-KPMG-PCAOB-00063334

I-KPMG-PCAOB-00063341 –
I-KPMG-PCAOB-00063342

I-KPMG-PCAOB-00063462
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I-KPMG-PCAOB-00063498

I-KPMG-PCAOB-00063552

I-KPMG-PCAOB-00063555 –
I-KPMG-PCAOB-00063567
I-KPMG-PCAOB-00063569

I-KPMG-PCAOB-00063578 –
I-KPMG-PCAOB-00063647

I-KPMG-PCAOB-00063649-
I-KPMG-PCAOB-00063650

I-KPMG-PCAOB-00063655 –
I-KPMG-PCAOB-00063669

I-KPMG-PCAOB-00064189

I-KPMG-PCAOB-00064954 –
I-KPMG-PCAOB-00064956

I-KPMG-PCAOB-00064976 –
I-KPMG-PCAOB-00065017

I-KPMG-PCAOB-00067913 –
I-KPMG-PCAOB-00067922

I-KPMG-PCAOB-00067953 –
I-KPMG-PCAOB-00067986

I-KPMG-PCAOB-00069130-
I-KPMG-PCAOB-00069171

I-KPMG-PCAOB-00069276 -
I-KPMG-PCAOB-00069317
I-KPMG-PCAOB-00062280-    KPMG CPE Compliance profiles for David Britt, Thomas
I-KPMG-PCAOB-00062289     Canfarotta, George Herrmann, Cynthia Holder, Robert Larson,
                          Jennifer Lauer, Scott Marcello, David Middendorf, Jennifer
I-KPMG-PCAOB-00069486 -   Stemple, Brian Sweet, and Thomas Whittle
I-KPMG-PCAOB-00069542
S-KPMG-PCAOB-00000058     A chart setting forth information from KPMG's time-recording
                          system, including information regarding work locations, relating
                          to David Britt, Thomas Canfarotta, George Herrmann, Cynthia
                          Holder, Robert Larson, Jennifer Lauer, Thomas “Joe” Lynch,
                          Scott Marcello, David Middendorf, Jennifer Stemple, Brian Sweet,
                          and Thomas Whittle for the periods May 1, 2015 to June 30, 2015,
                          March 1, 2016 to May 31, 2016, and January 1, 2017 to February
                          28, 2017.
I-KPMG-PCAOB-00069543 -   Documents pertinent to the review of work papers after March 27,
I-KPMG-PCAOB-00070176     2016 regarding the audit of the financial statements and internal
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                                       control over financial reporting of Fidelity National Information
                                       Services, Inc., for the fiscal year ending Dec. 31, 2015, comprised
                                       of email communications from KPMG’s exchange email servers
                                       and KPMG eAudit files
    I-KPMG-PCAOB-00070177 -            Documents pertinent to the review of work papers after March 27,
    I-KPMG-PCAOB-00072970              2016 regarding the audit of the financial statements and internal
                                       control over financial reporting of Washington Trust Bancorp,
                                       Inc., for the fiscal year ending Dec. 31, 2015, comprised of email
                                       communications from KPMG's exchange email servers and
                                       KPMG eAudit files
    I-KPMG-PCAOB-00072971 -            Additional documents pertinent to the review of work papers after
    I-KPMG-PCAOB-00073129              March 27, 2016 regarding the audit of the financial statements and
                                       internal control over financial reporting of NewStar Financial,
                                       Inc., for the fiscal year ending Dec. 31, 2015, comprised of email
                                       communications from KPMG's exchange email servers and
                                       KPMG eAudit files
    I-KPMG-PCAOB-00073130 -            Personnel files pertinent to David Britt, Thomas Canfarotta,
    I-KPMG-PCAOB-00074976              George Herrmann, Robert Larson, Jennifer Lauer, Scott Marcello,
                                       David Middendorf, Jennifer Stemple, and Thomas Whittle from
    I-KPMG-PCAOB-00074983 -            KPMG's systems 5
    I-KPMG-PCAOB-00077581

    I-KPMG-PCAOB-00077585 -
    I-KPMG-PCAOB-00077994

    I-KPMG-PCAOB-00077999 -
    I-KPMG-PCAOB-00078010
    I-KPMG-PCAOB-00074977 -            Additional personnel files pertinent to Cynthia Holder from
    I-KPMG-PCAOB-00074982              KPMG’s systems

    I-KPMG-PCAOB-00077995 -
    I-KPMG-PCAOB-00077998
    I-KPMG-PCAOB-00077582              Additional personnel file pertinent to Brian Sweet from KPMG's
                                       systems
    I-KPMG-PCAOB-00077583 -            Communications and documents pertinent to Brian Sweet's
    I-KPMG-PCAOB-00077584              recruitment and hiring by KPMG, from KPMG's exchange email
                                       servers and systems
    I-KPMG-PCAOB-00078011 -
    I-KPMG-PCAOB-00078088
    I-KPMG-PCAOB-00078089 -            KPMG CPE Compliance profile for Thomas “Joe” Lynch
    I-KPMG-PCAOB-00078095
    S-KPMG-PCAOB-00000059              Chart setting forth KPMG telephone directory information




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  Certain information pertinent to KPMG personnel not listed above, which inadvertently resided in the files of
those personnel listed above, has been redacted
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                                                   Attachment C

This attachment identifies the documents posted to each iteration of the PCAOB’s ethics
intranet page and provides the Bates number for each document within the PCAOB’s
productions. Unless otherwise indicated, documents that appear in an earlier version of the
ethics page remained the same in later versions.

Ethics Page Dated March 19, 201510:47 am (PCAOB-KPMG-000446)
        • Ethics Comer Announcement-PCAOB-KPMG-000447
        • Confidentiality Obligations -PCAOB-KPMG-000018
        • Negotiating Prospective Employment - PCAOB-KPMG-000449
        • Letter from Ethics Officer-PCAOB-KPMG-000451
        • Ethics Code-PCAOB-KPMG-000005
        • Ethical Guidelines on Post-PCAOB Employment - PCAOB-KPMG-000410
        • Investment Policy-PCAOB-KPMG-000452
        • Ethics and Compliance Alert - PCAOB-KPMG-000456
        • Acceptable Use Policy for IT- forthcoming
        • Request for Approval of Outside Activity Compensation - forthcoming
        • Limitations on Outside Activity-PCAOB-KPMG-000460
        • Entertainment and Gift Form - PCAOB-KPMG-000462
        • Potential Conflicts of Interest Concerning Mutual Funds -PCAOB-KPMG-000463
        • Financial Holdings Disclosure FAQ - PCAOB-KPMG-000469
        • Handling Requests for Employment References FAQ-PCAOB-KPMG-000471

Ethics Page Dated May 4, 2015 6:05 pm (PCAOB-KPMG-000473)
        • Guidelines for Inspectors on Potential Conflicts of Interest Concerning Broker-Dealers
        and Banks-KPMG-PCAOB-000474 6

Ethics Page Dated May 7, 2015 11:25 am (PCAOB-KPMG-000481)
        • Deleted: Letter from Ethics Officer (PCAOB-KPMG-000451)

Ethics Page Dated May 7, 2015 1: 11 pm (PCAOB-KP MG-000482)
        • Hyperlink added: Guidelines for Inspectors on Potential Conflicts of Interest
        Concerning Broker-Dealers and Banks (PCAOB-KPMG-000474)

Ethics Page Dated July 7, 2015 12:40 pm (PCAOB-KPMG-000483)
        • Deleted: Handling Requests for Employment References FAQ (PCAOB-KPMG-000471)

Ethics Page Dated July 7, 2015 3:53 pm (PCAOB-KPMG-000484)
        • Acceptable Use Policy for IT (updated July 2015)-PCAOB-KPMG-000485

Ethics Page Dated December 8, 2016 (PCAOB-KPMG-000489)
        • Reminders about Confidentiality and Information Technology- PCAOB-KPMG-000490

6
 Although an entry appeared for this document on the May 4, 2015 version of the ethics intranet page, that entry did
not contain a hyperlink.
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• Outside Employment Form - PCAOB-KPMG-000492
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                                Attachment D

UMB Financial Work Paper "Sign Off Corresponding Work Paper Produced on
History" Sheet (Production Nos.)   September 8, 2016 (Production Nos.)
I-KPMG-PCAOB-00019451              I-KPMG-PCAOB-00013774 -
                                   I-KPMG-PCAOB-00013783
                                   (AA6.10 Credit File Review Scoping)
I-KPMG-PCAOB-00019452              I-KPMG-PCAOB-00013784-
                                   I-KPMG-PCAOB-00013 792
                                   (AA6.30 UMB Credit File Review)
I-KPMG-PCAOB-00019453              I-KPMG-PCAOB-00013793 -
                                   I-KPMG-PCAOB-00013 797
                                   (AA6.50 Loan File Review Approach Memo)
I-KPMG-PCAOB-00019454              I-KPMG-PCAOB-00013798
                                   (AA6.60 Credit File Roll forward)
I-KPMG-PCAOB-00019432              I-KPMG-PCAOB-00013692 -
                                   I-KPMG-PCAOB-00013705
                                   (AA0.10 Overall ALLL Memo)
I-KPMG-PCAOB-00019433              I-KPMG-PCAOB-00013706 -
                                   I-KPMG-PCAOB-00013743
                                   (AA0.30 BFIL12-004 Challenge WP)
I-KPMG-PCAOB-00019424              I-KPMG-PCAOB-00013677 -
                                   I-KPMG-PCAOB-00013691
                                   (Al9.20 BFIL 15-004 Governance WP)
I-KPMG-PCAOB-00019434              I-KPMG-PCAOB-00013744 -
                                   I-KPMG-PCAOB-00013773
                                   (AA0.40 FRM Methodology Memo)
I-KPMG-PCAOB-00019360              I-KPMG-PCAOB-00013662 -
                                   I-KPMG-PCAOB-00013667
                                   (AA12.0010 ALLL Memo)
I-KPMG-PCAOB-00019455              I-KPMG-PCAOB-00013799 -
                                   I-KPMG-PCAOB-00013819
                                   (GG3.5 Marquette FV Acquisition Memo)
I-KPMG-PCAOB-00019474              I-KPMG-PCAOB-00013820-
                                   I-KPMG-PCAOB-00013829
                                   (GG3.10.4 Marquette Risk Rating Definition)
